        Case 8:05-cr-00009-SDM-TBM Document 101 Filed 04/13/06 Page 1 of 6 PageID 291
A 0 245B (Rev 12/03) Sheer I - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGILIENT IN A CRIMINAL CASE

                                                              CASE NUMBER: 8:05-cr-9-T-23TBM
                                                              USM NUMBER: 42516-018
VS.


GUILLEKMO RAMIREZ
                                                              Defendant's Attomy: Kenneth S. Siegcl, cja

THE DEFENDANT:

X was found guilty on counts ONE, TWO, and THREE of the Indictment after a plea of not guilty.
-

TITLE & SECTlON                     NATURE OF OFFENSE                                    OFFENSE ENDED             COUNT

21 U.S.C. g$ 846 and                Conspiracy to Distribute and Possess with            December 7 , 2004         ONE
84 1(b)(l)(A)(viii)                 Intent to Distribute 50 Grams or More of
                                    Methamphetamine (Actual) and 500
                                    Grams or More of Methamphetamine

21 U.S.C. Sg 841(a)(l) and          Distribution and Possession with Intent to
84l(b)(l)(B)(viii), and 18          Distribute 5 Grams or More of Methamphetamine August 20, 2004                  TWO
U.S.C. g 2

21 U.S.C. $$ 841(a)(l) and          Distribution and Possession with Intent to
841@)(1)(B)(viii). and 18           Distribule 5 Grams or More of Methamphetamine October 13, 2004                 THREE
U.S.C. g 2

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform 4ct of 1984.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name. residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: April 10, 2006




                                                                                    STEVEN D. MERRYDAY                           i
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: April     1 (ti,2006
         Case 8:05-cr-00009-SDM-TBM Document 101 Filed 04/13/06 Page 2 of 6 PageID 292
                               -
A 0 245B (Rev 12/03) Sheet 2 Imprisonrnenr
Defendant:          GUILLERMO RAMIREZ                                                                        Judgment - Page 2 of 6
Case No. :          8:05cr-9-T-23TBhi

                                                              IMPRISONMENT

                 The defendant is hereby conllnitted to the custody of the United States Bureau of P r i s o ~ ~tos be
imprisoned for a  total term of Oh% HUNDRED EIGHTY-EIGHT (188) MONTHS as to couuts one, two, illld three; all
terms to run concurrently.




     The court niakes the following reconlmendations to the Bureau of Prisons:



X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this disuict.

          - al- a.m.1p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution desigrlared by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                    RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to

at                                                                        , with a certified copy of this judgment.


                                                                                                                                -     -
                                                                                         United States Marshal

                                                                        By:
                                                                        Deputy Marshal
        Case 8:05-cr-00009-SDM-TBM Document 101 Filed 04/13/06 Page 3 of 6 PageID 293
A 0 245B (Rev. 12/03) Shect 3 - Supervised Release

Defendant:         GUILLERMO RAMIREZ                                                              Judgment - Page 3 of 6
Case No.:          8:05-cr-9-T-23TBM

                                                        SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) hIOhTHS as to
count one a n d FORTY-EIGHT (48) RlONTHS a s to counts two a n d three; all terms to run concurrently.

        The defendant shall report LO the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, anmunition, or destructive device as defined in 18 U.S.C. 5 921.

X        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

         If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
         the Schedule of Payments sheet of this judgment.

         The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
         conditions on the attached page.
                                          STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not Icave the judicial district without the permission of the court or probation officer;

         the defendant shall report to the probation officer and shall submit a truthful and completc written report within the first five days
         of each month;

          the defendant shall answer truthfully all inquiries by the probation ofticcr and follow thc instructions of the probation officcr:

         the dcfendant shall support his or her dependents and meet other family rcsponsibilitics:
          the defendant shall work regularly at a lawful occupation. unless excused by thc probation officer for schooling, training, or other
          acceptable reasons;
          the defendant shall notify the probation officer at least ten days prior to any change in rcsidence or employment;
          the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use. distribute, or administer any
          controlled subs~~ncc  or any paraphernalia related to any controlled substances, except as prescribed by a physician;
          the defendant shall not frcqucnt places where controlled substances arc illegally sold, uscd, distributed, or administered;
          the defendant shall not associatc with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
          the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
          the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer:
          thc defendant shall not enter into any agreement to act as an informer or a special agent of a law enforccmcrit agency without thc
          permission of thc court:
          as directed by tlic probation officcr. tlic dcfendant shall notifythird parties ofrisks that may be occasioned by thc defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification rcquircment.
        Case 8:05-cr-00009-SDM-TBM Document 101 Filed 04/13/06 Page 4 of 6 PageID 294

A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:        GUILLERMO KAMIREZ                                                        Judgment - Page 4 of 6
Case No.:         8:05cr-9-T-23TBM
                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the lbllowi~~g
                                                          additional conditions of supervised release:

-
X        The defendant shall participate in a program (outpatient andlor inpatient) for treatment of narcotic addiction or drug or alcohol
         dependency and follow the probation officer's instructions regardiilg the in~plementationof this court directive. This progranl
         may include testing for the detection of substance use or abuse not to exceed an amount determined reasonable by the
         Probation Office's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol dependency
         treatment program, the defendant is directed to submit to testing for the detection of substance use or abuse not to exceed 104
         times per year.
X
-        If the defendant is deported, he shall not re-enter the United Statcs without the express permission of the appropriate
         governmental authority, currently the United States Department of Homeland Security.
        Case 8:05-cr-00009-SDM-TBM Document 101 Filed 04/13/06 Page 5 of 6 PageID 295
A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:         GUILLERMO RAMIREZ                                                      Judgment - Page 5 of 6
Case No. :         8:05-cr-9-T-23TBM

                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                           Assessnient                         -
                                                               Fine                       Total Restitutiori

         Totals:                                               $ waived


-        The determination of restitution is deferred until -.          An Ame~~ded
                                                                                 Jlldgmenr ill a Crir?littal Case ( A 0 245C) will
         be entered after such determination.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a par~ia!payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise In the prlority order or percentage pa ent column below. However, pursuant to 18 U.S.C. 5
         3664(i), all non-federal victims must be paid before the g t e d States.
                                                                                                            Priority Order or
                                                *Total                     Amount of                        Percentage of
Kame of Pavee                                 Amount of Loss            Restitution Ordered                 Pavment




                           Totals:            -
                                              $                         S

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant shall ay interest on any tine or restitution of more than $2,500, unless the restitution or fine is paid in full
                              8
          before the fifteenth ay after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 4 3612(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -         the interest requirement is waived for the - fine        - restitution.
         -         the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1IOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1 96.8
        Case 8:05-cr-00009-SDM-TBM Document 101 Filed 04/13/06 Page 6 of 6 PageID 296
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Paynlents

Defendant:         GUILLERMO RAMIREZ                                                       Judgment - Page 6of 6
Case No.:          8:05-cr-g-T-23'I'BM


                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total crinlinal monetary penalties are due as follows:

A.       -
         X Lump sum payment of $ 300.00 due immediately, balance due
                             -not later than                  ,   or
                             -in accordance - C, - D. - E or - I; below: or
B.       -         Payment to begin immediately (may be combined with -C . -D, or -F below): or
C.       -         Payment in equal                 (e.g., weekly, monthly, quarterly) install~nentsof $             over a
                   period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                   date of this judgment: or
D.       -         Payment in equal                (e.g. weekly. monthly, quarterly) installnlents of $              over a
                   period of             , (e.g., mon s or years) to commence                     (e.g. 30 or 60 days) after
                   release from imprisonment to a term of superv~sion;or
E.       -         Payment during the tern1 of supervised release will colnnlence within                      (e.g., 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time. or
F.        -        Special instructions regarding the payment of critninal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgmenl imposes a period of                                     of criminal
          penalties is due during im risonment. All criminal monetary penalties,                                     made through the
moneta%                                  F
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount. Joint and
Several Amount, and corresponding payee, if appropriate:


          The defendant shall pay the cost of prosecution.
-         The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment. (2) resti(utior1principal, (3) restitution interest, (4) fine principal,
( 5 ) conllnunity restitution, (6) line interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
